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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

SHERRELL TOWNS, #B20513,                             )
                                                     )
               Plaintiff,                            )
                                                     )
       -vs-                                          )       No. 13-1269
                                                     )
C/O DEATHROW, et al.,                                )
                                                     )
               Defendants.                           )

                                        STATUS REPORT

       NOW COME the Defendants, TERRI DETHROW, TRAVIS LINDSEY and LUCAS

MAUE, by their attorney, Lisa Madigan, Attorney General of the State of Illinois, and for their

Status Report as per Court Order of July 2, 2018 [d/e 187], state as follows:

       1.      This matter was set for trial to be held on February 5, 2018. The parties appeared

for trial and were able to reach a settlement.

       2.      In order to prepare the settlement documents, the undersigned Assistant Attorney

General needed information from the appointed attorney in this matter. The attorneys discussed

the need for this information prior to leaving the courthouse on February 5, 2018.

       3.      On February 15, 2018, the undersigned forwarded an email to Plaintiff’s appointed

attorney, again requesting the information needed for the settlement documents be forwarded.

None was received. On May 15, 2018, another request was sent. No information has been

received regarding the information needed for the settlement documents.




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       WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

Honorable Court either set the matter for trial or demand Plaintiff file a response.



                                              Respectfully submitted,


                                              TERRI DETHROW, TRAVIS
                                              LINDSEY, LUCAS MAUE,
                                                   Defendants,

                                              LISA MADIGAN, Attorney General,
                                              State of Illinois

Christine McClimans, #6203209                                 Attorney for Defendants,
Assistant Attorney General
500 South Second Street                       By:    s/ Christine McClimans
Springfield, IL 62706                                 Christine McClimans
Phone: (618) 236-8621                                 Assistant Attorney General
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cmcclimans@atg.state.il.us




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

SHERRELL TOWNS, #B20513,                            )
                                                    )
               Plaintiff,                           )
                                                    )
        -vs-                                        )       No. 13-1269
                                                    )
C/O DEATHROW, et al.,                               )
                                                    )
               Defendants.                          )

                                CERTIFICATE OF SERVICE

 I hereby certify that on July 5, 2018, I electronically filed the foregoing, RESPONSE TO
 COURT’S REQUEST FOR STATUS, with the Clerk of Court using the CM/ECF system which
 will send notification of such filing to the following:

 Genavieve Fikes        gfikes@littler.com


 and I hereby certify that on July 5, 2018, I mailed by United States Postal Service, the document
 to the following non-registered participant:

 None


                                                    Respectfully submitted,

                                                    By:     /s/ Christine McClimans
                                                            Christine McClimans, #6203209
                                                            Assistant Attorney General
                                                            500 South Second Street
                                                            Springfield, Illinois 62706
                                                            (618) 236-8621 Telephone
                                                            (618) 236-8620 Fax
                                                            Email: cmcclimans@atg.state.il.us




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